Case 0:07-cr-60027-WJZ Document 557 Entered on FLSD Docket 08/27/2007 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 07-60027-CR-ZLOCH/Snow




  UNITED STATES OF AMERICA,

              Plaintiff,

  v.

  FRANK HERNANDEZ, et al.
            Defendants.
  ______________________________


                                   O R D E R


              THIS CAUSE is before the Court on defendants Amada

  Hernandez’ and Frank Hernandez’ Motions to Join and Adopt Co-

  Defendants’ Motions (DE 527, 530, 543 and 544).                  Being fully

  advised, it is hereby

              ORDERED    AND   ADJUDGED   that   the   motions    are   GRANTED.

  Defendants Amada Hernandez and Frank Hernandez are permitted to

  adopt the following motions:
              1.   Defendant    Hannibal    Edwards’     Motion    to   Dismiss

  Indictment (DE 457);

              2.   Defendant Paul Wiseberg’s Motion to Dismiss Counts 1

  and 9-12 of the Indictment (DE 482);

              3.   Defendant Paul Wiseberg’s Motion for Severance (DE

  517), and
Case 0:07-cr-60027-WJZ Document 557 Entered on FLSD Docket 08/27/2007 Page 2 of 2



              4.   Defendant Hannibal Edwards’ Second Motion to Dismiss

  Indictment (DE 524), except as to any matter where standing is an

  essential element of participation.        Any appeal from or objection

  to   any   magistrate   judge   ruling   must   be   taken   individually,

  specifically and timely.

              DONE AND ORDERED at Fort Lauderdale, Florida, this 27th

  day of August, 2007.




  Copies to:

  AUSA Ellen Cohen (WPB)
  Richard Hersch, Esq. (D-Frank Hernandez & Amada Hernandez)
  Chris Grillo, Esq. (D-Marhee)
  Greg Ross, Esq. (D-Marhee)
  Bruce Lyons, Esq. (D-Antonio)
  Joe Rosenbaum, Esq. (D-Pinkoff)
  Jon May, Esq. (D-E.V.A. Global & Tropical)
  David Bogenschutz, Esq. (D-Antoniou)
  David Vinikoor, Esq. (D-Wiseberg)
  Jeffrey Voluck, Esq. (D-Helfant)
  Sean Ellsworth, Esq. (D-Francois)
  Alberto Acuna, Esq. (D-Concept RX)
  Jeff Harris, Esq. (D-Cruz)
  Michael Hursey, Esq. (D-Walker)
  Richard Della Fera, Esq. (D-Echols)
  Dan Forman, Esq. (D-Edwards and Local Counsel for Hardiman)
  Mark Hardiman, Esq. (D-Edwards)
  AFPD Chantel Doakes (FTL) (D-Baron)




                                       2
